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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

UNITED STATES OF AMERICA )
)
Vv. )
) Case No. 1:21-mj-34
MOHAMMED KHALIFA, )
)
a/k/a )
)
Abu Ridwan Al-Kanadi, )
Abu Muthanna Al-Muhajir )
)
Defendant. )
ORDER TO UNSEAL

- The UNITED STATES, pursuant to Local Rule 49(B) of the Local Criminal Rules for the
United States District Court for the Eastern District of Virginia, having moved on February 5,
2021, to seal the criminal complaint, supporting affidavit, arrest warrant, the Motion to Seal, and
proposed Order in this matter; and

The COURT, now having found that the defendant has been arrested, transferred to the
United States, and taken into custody by the Federal Bureau of Investigation (FBI) and the
United States Marshals Service (USMS), and that the reasons for sealing this matter are no
longer present, it is hereby

ORDERED, ADJUDGED, and DECREED that the criminal complaint, supporting

affidavit, arrest warrant, Motion to Seal, and all entries in case number 1:21-mj-34 are

UNSEALED at 9:00 a.m. on Saturday, October 2, 2021. ( | R

Hon. Theresa C. Buchanan
\ 9 4 United States Magistrate Judge
Date:

 
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WE ASK FOR THIS:

RAJ PAREKH
ACTING UNITED STATES ATTORNEY

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Dennis M. Fitzpaty ck
Assistant United ‘States Attorney

 

 
